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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 ONTARIO TEACHERS’ PENSION PLAN BOARD, :
 Individually and as Lead Plaintiff on behalf of all :
                                                     :        No. 3:17-cv-00558 (SRU)
 others similarly situated; and
                                                     :
 ANCHORAGE POLICE & FIRE RETIREMENT                  :
 SYSTEM, Individually and as Named Plaintiff on      :        Class Action
 behalf of all similarly-situated bond purchasers,   :
         Plaintiffs,                                 :
                                                     :
                 v.                                  :
                                                     :
 TEVA PHARMACEUTICAL INDUSTRIES LTD.; :
 EREZ VIGODMAN; EYAL DESHEH; SIGURDUR :
 OLAFSSON; DEBORAH GRIFFIN; KÅRE                     :
 SCHULTZ; MICHAEL MCCLELLAN; YITZHAK                 :
 PERERBURG; AND TEVA PHARMACEUTICAL :                         December 13, 2019
 FINANCE NETHERLANDS III B.V.,                       :
                                                      :
         Defendants.

                                 JOINT MOTION TO
                           CONSOLIDATE RELATED ACTIONS

       Pursuant to the Court’s November 18, 2019 Civil Case Management Order, the parties in

the above-referenced action (collectively, the “Parties”) hereby jointly move the Court to enter an

Order in the form included herewith as Exhibit A, consolidating the four putative class actions

pending before this Court in the manner set forth below, and reflecting the parties’ agreements

below, including as to Plaintiffs’ filing of an amended complaint (see ECF No. 310). The Parties

hereto also jointly move the Court for the entry of an Order in the form included herewith as

Exhibit B, consolidating fifteen related individual actions before this Court with this Action for

pretrial purposes, and the Teva Defendants will make separate submissions in each of those

Actions seeking the entry of that proposed Order in those actions as well.




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       Under Rule 42(a), this Court has the power, and broad discretion, to consolidate actions

“when there are common questions of law or fact to avoid unnecessary costs or delay.” Johnson

v. Celotex Corp., 899 F.2d 1281, 1284 (2d Cir. 1990). Exercising this power, district courts

consolidate securities cases “where those actions relate to ‘the same public statements and reports’

and where consolidation would not prejudice the defendants.” Constance Sczesny Tr. v. KPMG

LLP, 223 F.R.D. 319, 322 (S.D.N.Y. 2004) (citation omitted); see Bray v. Frontier Commc’ns

Corp., No. 3:17-CV-1617 (VAB), 2018 WL 525485, at *8 (D. Conn. Jan. 18, 2018) (consolidating

four securities class actions after determining that “there is substantial overlap in the questions of

fact and law”). In short, consolidation is appropriate when it would serve to “expedite trial and

eliminate unnecessary repetition and confusion.” Devlin v. Transp. Commc’ns Int’l Union, 175

F.3d 121, 130 (2d Cir. 1999). As discussed below, that is the case here. There is already substantial

overlap in the various Teva-related class action Complaints, as several judges have recognized in

granting motions to transfer those cases to this Court. Furthermore, pursuant to Rule 15(a)(2) of

the Federal Rules of Civil Procedure and with the written consent of Defendants, the Plaintiffs in

the Ontario Action have just filed an Amended Complaint to eliminate any differences that existed

between their prior Complaint and the other putative class action Complaints. In the interest of

facilitating the most efficient resolution of these claims, the Defendants have consented to the

Ontario Plaintiffs’ recent amendment of their Complaint. The Parties respectfully submit that the

grant of this joint motion will streamline the management and adjudication of all U.S. Teva-related

securities class action claims.

                                         BACKGROUND

       There are currently twenty actions pending before this Court against Teva Pharmaceutical

Industries, Ltd. (“Teva”) and various Teva affiliates and current and former Teva officers,




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directors, and employees, in which plaintiffs allege violations of the federal securities laws

(collectively, the “Related Actions”). Four of the Related Actions are putative class actions

(collectively, the “Putative Class Actions”), 1 and sixteen of the Related Actions are direct actions

brought by plaintiffs who have indicated that they intend to “opt-out” of the plaintiffs’ class if one

is certified by the Court pursuant to Rule 23 of the Federal Rules of Civil Procedure. This motion

addresses the Putative Class Actions and fifteen of the “opt-out” actions (collectively, the “Direct

Actions”). 2

       The first-filed action amongst the Related Actions is this action, styled Ontario Teachers’

Pension Plan Bd. v. Teva Pharm. Indus. Ltd., No. 17-cv-558-SRU (the “Ontario Action”). As the

Court is aware, the Ontario Action is the case among the various Related Actions that proceeded

here and was the subject of the motions to dismiss that various defendants have filed in this Court


       1
          The Putative Class Actions are: Ontario Teachers’ Pension Plan Bd. v. Teva Pharm.
Indus. Ltd., No. 17-cv-558-SRU; Huellemeier v. Teva Pharm. Indus. Ltd., 17-cv-1938-SRU;
Grodko v. Teva Pharm. Indus. Ltd., 18-cv-800-SRU; and Emps.’ Ret. Sys. of the City of St.
Petersburg, Florida v. Teva Pharm. Indus. Ltd., 19-cv-1768-SRU. As discussed infra Section
II.A.1, the putative class action styled Baker v. Teva Pharm. Indus. Ltd., 18-cv-798-SRU was
previously consolidated with the Grodko action, and for purposes of this Motion, the Parties treat
the Grodko and Baker actions as consolidated, and refer to them together as the Grodko/Baker
action.
       2
          The fifteen Direct Actions are: Nordea Investment Mgmt. AB v. Teva Pharm. Indus. Ltd.,
18-cv-1681-SRU; State of Alaska Dept. of Rev., Treasury Div. v. Teva Pharm. Indus. Ltd., 18 cv-
1721-SRU; Pacific Funds Series Trust & Pacific Select Fund v. Teva Pharm. Indus. Ltd., 18 cv-
1956-SRU; Pub. School Teachers’ Pension and Ret. Fund of Chicago v. Teva Pharm. Indus. Ltd.,
19-cv-175-SRU; Schwab Capital Tr. and Schwab Strategic Tr. v. Teva Pharm. Indus. Ltd., 19-cv-
192-SRU; The Phoenix Insurance Co., Ltd. v. Teva Pharm. Indus. Ltd., 19-cv-449-SRU;
Mivtachim The Workers Social Ins. Fund Ltd. v. Teva Pharm. Indus. Ltd., 19-cv-513-SRU; Clal
Ins. Co. Ltd. v. Teva Pharm. Indus. Ltd., 19-cv-543-SRU; Highfields Capital I LP v. Teva Pharm.
Indus. Ltd., 19-cv-603-SRU; Migdal Insurance Co. Ltd. v. Teva Pharm. Indus. Ltd., 19-cv-655-
SRU; Harel Pension and Provident Ltd. v. Teva Pharm. Indus. Ltd., 19-cv-656-SRU; State of
Oregon v. Teva Pharm. Indus. Ltd., 19-cv-657-SRU; Migdal Mutual Funds, Ltd. v. Teva Pharm.
Indus. Ltd., 19-cv-923-SRU; Psagot Mutual Funds, Ltd. and Psagot Provident Funds & Pension
Ltd. v. Teva Pharm. Indus. Ltd., 19-cv-1167-SRU; and Stichting PGGM Depositary and Stichting
Pensioenfonds Zorg En Welzijn v. Teva Pharm. Indus. Ltd., 19-cv-1173-SRU. This motion does
not address OZ ELS Master Fund, Ltd. v. Teva Pharm. Indus. Ltd., 17-cv-1314-SRU.


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to date. On April 3, 2018, this Court granted Defendants’ motions to dismiss, affording Plaintiffs

leave to replead, which Plaintiffs did in their Amended Consolidated Class Action Complaint filed

on June 22, 2018. On September 25, 2019, this Court denied in substantial part the motions to

dismiss claims asserted in the Amended Consolidated Class Action Complaint filed by a majority

of the Defendants in the Ontario Action. Ontario, ECF No. 283 (Sept. 25, 2019) (the “September

25 Order”). 3

       On November 18, 2019, the Court entered a Civil Case Management Order in the Ontario

Action, which sets forth, among other things, a discovery schedule for the Ontario Action and

requires the parties in the Related Actions to make a proposal to the Court regarding consolidation

by December 13, 2019. Ontario, ECF No. 298 at 1. The Parties do not believe that any change to

the current schedule is necessary, with the sole exception of the deadline to file Answers (addressed

below).

       By and through their counsel, the Parties have met and conferred regarding consolidation

of the Putative Class Actions. The Plaintiffs and Defendants here agree with the Court’s comments

at the November 13, 2019 Rule 16 Conference in the Ontario Action that the Putative Class

Actions should be consolidated. In the interests of preserving party and judicial resources and

promoting efficiency, the Parties jointly propose consolidation of the Putative Class Actions in the

manner discussed below and respectfully jointly request that the Court enter an Order in the form

of the Proposed Order attached hereto as Exhibit A.

       As noted above, the Parties hereto also jointly move the Court for the entry of an Order in

the form included herewith as Exhibit B, consolidating for pretrial purposes fifteen Direct Actions


       3
        The September 25 Order granted in its entirety the motion to dismiss of defendants Allan
Oberman and Maureen Cavanaugh and directed the Clerk to terminate them as defendants in the
Ontario Action.


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before this Court with the Ontario Action. The Teva Defendants will also separately be making

submissions in each of the Direct Actions, moving for the entry of an Order in the form of Exhibit

B and referencing the arguments made herein.

                                  AGREEMENT & PROPOSAL

I.     APPLICATION OF THE COURT’S ORDERS.

       The Parties request that the Orders entered by the Court on this Joint Motion should apply

to the Putative Class Actions, the Direct Actions, and any class or individual action subsequently

filed in, or transferred to, this District and assigned to this Court, which relates to the same subject

matter as any of the foregoing actions, unless a party who has the right to object to the

consolidation of any such subsequently filed or transferred case or to any provision of the Orders

serves an application for relief from the Orders or from any of their provisions within seven days

after the date on which defense counsel mails or emails a copy of the Orders to counsel for that

party. 4 The provisions of the Court’s Orders on this Motion shall apply to any such action pending

the Court’s ruling on the application.

II.    CONSOLIDATION OF THE PUTATIVE
       CLASS ACTIONS WITH THE ONTARIO ACTION.

       As set forth below, even before the recent amendment of the Ontario Complaint, the

Ontario Action overlapped with the Grodko/Baker, St. Petersburg, and Huellemeier actions in

many ways. Furthermore, and as discussed further below, the recent amendment of the Ontario

Complaint, to which the Defendants consented under Rule 15(a)(2), eliminated any differences


       4
         The Parties are aware of just one related action not presently before this Court, which is
not a putative class action. That case, styled Fir Tree Value Master Fund, LP & FT SOF V
Holdings, LLC v. Teva Pharmaceutical Industries, Ltd., No. 2018-19713, is currently pending in
the Court of Common Pleas of Montgomery County, Pennsylvania. Defendants in that action
moved to dismiss the case on grounds of forum non conveniens on October 16, 2018. The motion
was fully briefed as of December 21, 2018. The court has not yet ruled on that motion.


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that existed between their prior Complaint and the Complaints in Grodko/Baker, St. Petersburg,

and Huellemeier. 5 For the many reasons discussed below, these actions should be consolidated

for all purposes.

       A.      Overlap Among Putative Class Actions.

       The Ontario Action is a putative class action asserting claims for relief under the Securities

Exchange Act of 1934 (“Exchange Act”) and the Securities Act of 1933 (“Securities Act”) based

on alleged misrepresentations concerning the pricing of Teva’s pharmaceutical products and

competition in the generic drug markets.       Following the Court’s September 25 Order, the

remaining Defendants in the Ontario Action are Teva, Teva Pharmaceutical Finance Netherlands

III B.V., Erez Vigodman, Eyal Desheh, Sigurdur Olafsson, and Deborah Griffin. The asserted

Class Period is February 4, 2014 through August 3, 2017.

       As the Second Circuit explains, “Rule 42(a) of the Federal Rules of Civil Procedure

empowers a trial judge to consolidate actions for trial when there are common questions of law or

fact to avoid unnecessary costs or delay.” Johnson, 899 F.2d at 1284. Rule 42(a) provides district

courts considerable discretion to consolidate cases in the interests of judicial administration. See

Hall v. Hall, 138 S. Ct. 1118, 1131 (2018) (“District courts enjoy substantial discretion in deciding

whether and to what extent to consolidate cases” under Rule 42(a)); Johnson, 899 F.2d at 1284

(“The trial court has broad discretion to determine whether consolidation is appropriate”); United




       5
          As discussed below, by agreement with the Defendants, the Ontario Plaintiffs have not
moved at this time to add claims under Israeli law, although the Grodko/Baker Complaint does
assert Israeli law claims. The Defendants will shortly be moving to dismiss the claims asserted in
any cases here under Israeli law. See infra Section II.C. The Court in the Mylan case, to which
this Court cited in its September 25 Order, dismissed the claims asserted there under Israeli law
while otherwise proceeding with the adjudication of claims under U.S. securities law. In re Mylan
N.V. Sec. Litig., No. 16-CV-7926 (JPO), 2018 WL 1595985, at *18-20 (S.D.N.Y. Mar. 28, 2018).


                                                 6
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States v. 43.47 Acres of Land, 45 F. Supp. 2d 187, 194 (D. Conn. 1999) (“There is broad discretion

to determine whether the actions call for consolidation”).

       In particular, “[c]onsolidation of multiple actions alleging securities fraud is appropriate

where those actions relate to ‘the same public statements and reports’ and where consolidation

would not prejudice the defendants.”        Constance Sczesny Tr., 223 F.R.D. at 322 (quoting

Primavera Familienstiftung v. Askin, 173 F.R.D. 115, 129 (S.D.N.Y. 1997)); see Bray, 2018 WL

525485, at *8 (consolidating four securities class actions after determining that “there is substantial

overlap in the questions of fact and law”); In re Bank of Am. Corp. Sec., Deriv. & Emp’t Ret.

Income Sec. Act (ERISA) Litig., No. 09 MDL 2058 (DC), 2010 WL 1438980, at *3 (S.D.N.Y. Apr.

9, 2010) (Chin, J.) (consolidating securities class actions filed after appointment of lead plaintiff

in first-filed case; plaintiffs in later-filed actions were “free to pursue their claims as individual

cases-but not as class actions”); In re Synergy Pharm. Inc. Sec. Litig., No. 18-CIV-873, 2019 WL

6150713, at *4 (E.D.N.Y. Nov. 20, 2019) (same). “Neither Rule 42 nor the PSLRA demands that

actions be identical before they may be consolidated.” Pinkowitz v. Elan Corp., PLC, No. 02-CV-

4948, 2002 WL 1822118, at *3 (S.D.N.Y. July 29, 2002) (quotation and citation omitted). In short,

consolidation is appropriate when it would serve to “expedite trial and eliminate unnecessary

repetition and confusion,” Devlin, 175 F.3d at 130, as is undoubtedly the case here.

       For the reasons set forth below, the Parties request that the Putative Class Actions (i.e., the

Grodko/Baker, St. Petersburg, and Huellemeier actions) be consolidated with the Ontario Action

for all purposes (referred to hereinafter as the “Consolidated Ontario Action”). The Parties further

request that, pursuant to Local Rule 42(a), although separate dockets shall be maintained for each

of the Putative Class Actions, the docket for the Ontario Action shall be the “master docket,” and




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all papers hereafter filed in the Consolidated Ontario Action shall be filed on the docket and under

the caption for the Ontario Action.

               1.      Grodko/Baker

       The Parties request that the Grodko and Baker “actions” be consolidated with the Ontario

Action for all purposes. As an initial matter, and as discussed below, the Grodko and Baker

“actions” are actually a single action consolidated by the Chief Judge of the U.S. District Court for

the Eastern District of Pennsylvania prior to its transfer to this Court.

       Elliot Grodko filed a putative class action complaint on August 21, 2017 in the U.S. District

Court for the Eastern District of Pennsylvania. See Grodko v. Teva Pharm. Indus. Ltd., No. 17-

cv-03743 (E.D. Pa.). Grodko was assigned to Judge Paul S. Diamond. The Grodko complaint

named Teva, Erez Vigodman, Eyal Desheh, and Yitzhak Peterburg as defendants and asserted

claims under the Exchange Act and the Israeli Securities Law, 1968. A little over a week later,

Barry Baker filed a nearly identical complaint in the same court, against the same defendants, and

asserting the same claims with the exception of the Israeli Securities Law claim. See Baker v. Teva

Pharm. Indus. Ltd., No. 17-cv-03902 (E.D. Pa.). The Baker case was originally assigned to Judge

Gerald A. McHugh.

       On October 23, 2017, the date for filing of Lead Plaintiff motions, Elliot Grodko

voluntarily dismissed his claims in their entirety, explaining that the Complaint in the Ontario

Action had been “expanded to include the claims filed” in Grodko and Baker. Grodko, ECF No.

11 (Oct. 23, 2017). Barry Baker did not file a motion to be appointed as Lead Plaintiff. A handful

of other movants filed motions to be appointed as Lead Plaintiff.

       On October 31, 2017, Judge McHugh assigned the Baker case to Judge Diamond, deeming

it “related” to Grodko. Baker, ECF No. 7 (Oct. 31, 2017). Chief Judge Lawrence F. Stengel then




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ordered that the two actions would “be CONSOLIDATED before [Judge] Diamond.” Grodko,

ECF No. 16 (Nov. 1, 2017) (emphasis in original). Accordingly, as of November 1, 2017, the

Grodko and Baker actions were one action, though neither of Messrs. Grodko or Baker were any

longer pursuing their claims.

       The Defendants in the Grodko/Baker action moved to transfer the consolidated action to

this District on November 14, 2017. Grodko, ECF No. 24. Only two of the movants for Lead

Plaintiff, Yael Amsellem (“Amsellem”) and the Mason P. Slaine Revocable Trust (“Slaine”),

opposed the transfer motion. On December 29, 2017, Amsellem and Slaine “stipulated” that they

would be co-Lead Plaintiffs. Grodko, ECF No. 33.

       On April 10, 2018, Judge Diamond granted the Defendants’ motion to transfer the

consolidated action to this District. Grodko, ECF No. 37. In so doing, Judge Diamond expressly

“refrain[ed]” from ruling on Slaine’s and Amsellem’s stipulation regarding Lead Plaintiff

appointment and ruling on any other Lead Plaintiff motion, noting that his “appointment of a lead

plaintiff would interfere with Judge Underhill’s management of the Connecticut action.” Id. at 15.

The Baker/Grodko consolidated action was electronically transferred to this District on May 10,

2018, and opened on two separate dockets. The two dockets were transferred to this Court on May

29, 2018.

       The Parties agree and request that the Grodko/Baker action be consolidated for all purposes

with the Ontario Action. Neither Mr. Baker nor Mr. Grodko remain plaintiffs. There is no

operative complaint. No Lead Plaintiff has been appointed, and the deadline for moving for Lead

Plaintiff has long passed.




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       Such as they are, the allegations in the initial Grodko and Baker complaints were entirely

covered by those in the Prior Ontario Complaint. 6 The Grodko/Baker class period (November 15,

2016 through August 2, 2017) is entirely subsumed by the Prior Ontario Complaint class period

(February 4, 2014 through August 3, 2017). Grodko/Baker rests on allegations that Teva was

“actively concealing the negative impact resulting from the acquisition and integration of Actavis

Generics on [Teva]’s financial results and business prospects.” Grodko Cmpl. ¶ 2 & Baker Cmpl.

¶ 2. The Prior Ontario Complaint similarly involved allegations that Teva concealed the financial

impact of the Actavis acquisition from the public, discussing this supposed concealment

throughout the Ontario Amended Consolidated Class Action Complaint. See, e.g., Ontario Cmpl.

¶¶ 137, 194, 232, 234, 237, 322.       The misrepresentations referenced in the Grodko/Baker

complaints, moreover, are based on many of the same public filings, such as the Q3 2016 6-K

(Grodko Cmpl. ¶ 16; Baker Cmpl. ¶ 16; Ontario Cmpl. ¶ 231), December 5, 2016 6-K (Grodko

Cmpl. ¶ 18; Baker Cmpl. ¶ 20; Ontario Cmpl. ¶¶ 325–27), 2016 20-F (Grodko Cmpl. ¶ 22; Baker

Cmpl. ¶ 24; Ontario Cmpl. ¶¶ 236–37), Q1 2017 6-K (Grodko Cmpl. ¶ 25; Baker Cmpl. ¶ 27;

Ontario Cmpl. ¶¶ 331–33). Indeed, as noted above, Grodko voluntarily dismissed his claims

because the Complaint in the Ontario Action had been “expanded to include the claims filed” in

Grodko and Baker, Grodko, ECF No. 11 (Oct. 23, 2017). Furthermore, as noted above, the Ontario

Plaintiffs’ amended Complaint eliminates any areas in which the Grodko/Baker Complaint and

Prior Ontario Complaint previously lacked complete overlap.

       For the foregoing reasons, the Parties submit that the Grodko/Baker consolidated action

should be consolidated with the Ontario Action for all purposes.




       6
           ECF No. 226 (referred to herein as the “Prior Ontario Complaint” or “Ontario Cmpl.”).


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               2.      St. Petersburg

       The Parties request that the St. Petersburg action also be consolidated with the Ontario

Action for all purposes.

       The St. Petersburg Complaint was filed on June 21, 2019 in the U.S. District Court for the

Eastern District of Pennsylvania. On August 23, 2019, four sets of movants moved to be appointed

lead plaintiff. On September 13, 2019, the Defendants in the St. Petersburg action moved to

transfer the case to this District. See St. Petersburg, No. 2:19-cv-02711, ECF No. 24. Following

briefing, Judge Diamond ordered that the matter be transferred to this District and refrained from

ruling on any lead plaintiff motion. See St. Petersburg, ECF No. 37 at 15-16. This Court recently

denied without prejudice two motions for appointment as lead plaintiff in anticipation of Plaintiffs’

and Defendants’ forthcoming submission on consolidation. St. Petersburg, ECF No. 67.

       The St. Petersburg action and the Ontario Action overlap in many ways that weigh in favor

of consolidation. As Judge Diamond noted, the gravamen of the St. Petersburg complaint is that,

from the period beginning with the end of the Ontario class period (August 4, 2017) through May

10, 2019, Teva misleadingly denied antitrust liability arising from the alleged generic price-fixing

scheme which is the subject matter of the Ontario Action. St. Petersburg, ECF No. 37 at 10. In

granting transfer to this District, Judge Diamond recognized that there was “substantial[]

overlap” between the Ontario Action and the St. Petersburg action. Id. at 8 (emphasis added).

He acknowledged that, while the complaints in the matters involved different class periods, the

substance of the allegations was the same—“that ‘Defendants engaged in a fraudulent scheme to

artificially inflate [Teva’s] share price,’ and has consistently denied its involvement in




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anticompetitive practices.” Id. (quoting St. Petersburg Cmpl. at ¶¶ 1, 2). 7 Judge Diamond also

acknowledged that “the claims in both actions are nearly identical” as both bring claims under the

Exchange Act. Id. at 9. Furthermore, as noted above, the Ontario Plaintiffs’ amended Complaint

eliminates any areas in which the St. Petersburg Complaint and Prior Ontario Complaint

previously lacked complete overlap.         Accordingly, the St. Petersburg action should be

consolidated with the Ontario Action for all purposes.

               3.      Huellemeier

       The Parties request that the Huellemeier action also be consolidated with the Ontario

Action for all purposes.

       The Huellemeier Complaint was filed in the U.S. District Court for the Southern District

of Ohio on July 17, 2017, asserting violations of the Securities Act and common law violations

based on Teva’s “alleged misrepresentations or omissions in Teva’s 2014 and 2015 20-F Forms”

related to Teva’s alleged “price-fixing” and “fail[ure] to disclose government investigations into

price-fixing.” Huellemeier, ECF No. 17 at 9 (Order Granting Motion to Transfer). On November

17, 2017, Judge Susan Dlott transferred the Huellemeier action to this District on the basis that the

Huellemeier complaint and the Ontario complaint were based on similar allegations, brought

Securities Act claims, and involved overlapping class periods. Id. In short, Judge Dlott determined

that the cases were similar to the extent that “it is highly likely that there will be substantial

overlap in discovery and briefing in the two cases.” Id. (emphasis added).

       While Mr. Huellemeier has now filed a First Amended Complaint (Nov. 1, 2019), that

complaint similarly overlapped with the Prior Ontario Complaint, and, according to its very own


       7
         See also id. at 9-10 (“Although the theories of liability in the cases differ, the factual
background and subject matter remain substantially similar . . . The subject matter of both actions
is premised on Teva’s alleged involvement in an industry-wide price-fixing scheme”).


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allegations, “relies heavily” on it. Huellemeier, No. 3:17-cv-01938, ECF No. 40 at ¶ 2 (emphasis

added). The Huellemeier class period (February 9, 2015 through November 3, 2016), see id. at

¶ 1, is entirely subsumed in the Prior Ontario Complaint’s class period (February 4, 2014 through

August 3, 2017), which has been extended by the amended Ontario Complaint. And, the

Huellemeier Complaint brings Securities Act claims, as does the Prior Ontario Complaint, based

on the same securities offering—the July 2016 “Notes Offering.” Compare Ontario Cmpl. ¶ 384

(Securities Act claims based on July 19, 2016 “Notes Final Prospectus”) with Huellemeier Cmpl.

¶ 318 (same).

        The principal difference between the two Complaints was the definition of the class. The

Prior Ontario Complaint defined the class as including “all persons and entities” who purchased

certain Teva securities (with certain inapplicable exceptions), Ontario Cmpl. ¶ 355, while

Huellemeier defines a narrower, subsumed class “consisting of all individuals who purchased or

otherwise acquired Teva ADSs pursuant to the Company’s [Employee Stock Purchase Plan]

during the Class Period,” Huellemeier Cmpl. ¶ 437. All members of the Huellemeier putative

class are therefore members of the putative class in the Ontario Action. Indeed, as Judge Dlott

noted in her Order transferring the case to this District: “Huellemeier himself falls within the class

defined in the Ontario Teachers action as a person who purchased or acquired Teva shares between

February 6, 2014 and August 3, 2017.” Huellemeier, No. 1:17-cv-00485, ECF No. 17 at 9.

Furthermore, as noted above, the Ontario Plaintiffs’ amended Complaint eliminates any areas in

which the Huellemeier Complaint and Prior Ontario Complaint previously lacked complete

overlap. 8



        8
         The Parties note that the amended Complaint does not name as a defendant Shlomo Yanai,
one of the defendants in Huellemeier. Mr. Yanai ceased his employment at Teva in 2012, and was
therefore not employed by Teva during the proposed class period. Having been informed of these


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       For the foregoing reasons, the Parties agree and request that the Huellemeier action should

be consolidated with the Ontario Action for all purposes.

       B.      Amendment of Ontario Complaint.

       As noted above, pursuant to Rule 15(a)(2) and with the consent of the Defendants, the

Plaintiffs in the Ontario Action have just filed an amended Complaint that eliminates any

differences that previously existed between the Prior Ontario Complaint and the Complaints in

Grodko/Baker, St. Petersburg, and Huellemeier. 9 Particularly in view of this recently filed

Amended Complaint in Ontario, the Parties respectfully submit that the grant of this joint motion

to consolidate will streamline the management and adjudication of all U.S. Teva-related securities

class action claims. In addition, the Parties do not seek any change to the discovery schedule to

ensure that the consolidated cases will move forward forthwith.

       C.      Israeli Claims.

       The Parties have discussed whether the Ontario Complaint would be amended at this time

to include claims based on the alleged violation of Israeli law, and they have agreed that the

Ontario Plaintiffs would not add those allegations at this time. Per discussion between the Teva

Defendants and the parties to several of the Direct Actions, the Teva Defendants will shortly be

filing motions to dismiss Israeli law claims asserted in those cases.

       Currently pending in the State of Israel are two putative securities fraud class actions

against Teva defendants asserting claims for violations of Israeli securities law and in connection

with Teva securities traded over the Israeli securities exchange (i.e., the Tel Aviv Stock Exchange).


facts, counsel for Mr. Huellemeier recently agreed to voluntarily dismiss all claims against
Mr. Yanai.
       9
         The one exception relates to claims for violations of Israeli law, which Plaintiffs did not
add to the recently filed Amended Complaint in Ontario, by agreement of the Parties. See Section
II.C.


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Those Israeli cases are based upon many of the same facts and circumstances that form the basis

of the claims here. Against this backdrop, the Ontario Plaintiffs previously chose voluntarily to

withdraw their prior assertion of Israeli law claims here.

       Defendants note that the Court in the Mylan case, to which this Court cited in its September

25 Order, dismissed the claims asserted there under Israeli law while otherwise proceeding with

the adjudication of claims under U.S. securities law. Mylan, 2018 WL 1595985, at *18-20

(declining to exercise supplemental jurisdiction over the Israeli law claims to avoid confronting

complex issues of Israeli law, and where pending class action litigation involving those claims in

Israel presented the opportunity for potentially inconsistent results and double recoveries). In the

event that this Court were to grant Defendants’ forthcoming motions to dismiss the Israeli law

claims, the structure for Teva-related securities litigation in this Court would track Mylan: All

U.S.-law based securities claims would be litigated in the U.S. All claims asserted under Israeli

law and/or relating to securities traded over the Israeli securities exchange would be litigated in

Israel, in the cases already pending there. Defendants believe that this structure would streamline

the resolution of Teva-related securities litigation in this Court.

III.   FILING OF AMENDED COMPLAINT.

       As noted above, in the interest of efficiency and in order to streamline adjudication of the

 Ontario Action, Defendants consented (see ECF No. 309) to Plaintiffs’ filing of their Second

 Amended Consolidated Class Action Complaint, filed today. (ECF No. 310). Defendants have

 agreed that they will not advance at any stage of the case the arguments that Lead Plaintiff or

 Named Plaintiff Anchorage Police & Fire Retirement System do not have standing to advance

 the claims that are the subject of the amendments, or that Plaintiffs are not adequate or typical

 representatives for purposes of representing the class, and Defendants shall not use the fact of the

 amendment itself to challenge class certification. Defendants have also agreed that the amended


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complaint shall be treated identically to the Prior Ontario Complaint for relation back purposes,

including under Fed. R. Civ. P. 15(c)(1). Subject to the exceptions set forth in this paragraph,

Defendants do not waive and expressly reserve all arguments and defenses, and Defendants may

advance any argument or defense at a later stage of the case, including in support of any motion

for summary judgment. Defendants shall not move under Fed. R. Civ. P. 12 with respect to the

amended complaint, and shall answer the amended complaint within 45 days of its filing, and

consolidation, the amendment, or the fact that Defendants have not yet filed Answers shall not

constitute grounds for any delay of these proceedings or the current schedule entered by the Court

(ECF No. 298).

IV.    CONSOLIDATION AND COORDINATION OF DIRECT ACTIONS.

       Pursuant to Rule 42, this Court should consolidate the Direct Actions and enter the Parties’

Proposed Order, attached hereto as Exhibit B, to streamline pretrial activity and avoid duplicative

motion practice and discovery. See Fed. R. Civ. P. 42(a)(2) & (3) (permitting court to consolidate

actions involving common questions of law or fact and to “issue any other orders to avoid

unnecessary cost or delay”).

       Since the passage of the PSLRA, courts within this Circuit have routinely consolidated opt-

out cases with the main securities class action for judicial economy, and to avoid delays,

duplicative litigation, and potentially inconsistent results. The WorldCom litigation has long

served as the paradigm for such consolidation. See In re WorldCom, Inc. Sec. Litig., 2002 WL

31867720, at *1 (S.D.N.Y. Dec. 23, 2002). There, the consolidation of numerous opt-out cases

was necessary to “achieve economies for the parties and the Court and to achieve substantial justice

for the parties,” while avoiding “unnecessary delay” and “duplicative, wasteful litigation.”

WorldCom, Inc., 2003 WL 21219037, at *1, *3 (S.D.N.Y. May 22, 2003).




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       WorldCom’s consolidation paradigm has been widely followed, as “courts have routinely

consolidated individual securities actions with class actions, given the obvious benefits in terms of

efficiency and judicial economy.” Crowe v. JPMorgan Chase & Co., 2009 WL 3852381, at *4

(S.D.N.Y. Nov. 18, 2009) (citing WorldCom, 2003 WL 21219037 at *2-4); see also Schnall v.

Proshares Tr., 2010 WL 1962940, at *2 (S.D.N.Y. May 17, 2010); In re Global Crossing, Ltd.

Sec. Litig., 2004 U.S. Dist. LEXIS 23119, at *6 (S.D.N.Y. Nov. 5, 2004); see also Manual for

Complex Litigation § 11.631 (4th ed. 2008) (class actions may be consolidated with cases brought

by opt-outs or other individual plaintiffs).

       Here, consolidation is plainly warranted because all of the Direct Actions involve common

questions of fact and law with the Ontario Action:

       •    All allege claims under the Exchange Act;

       •    All assert those claims against Teva, Vigodman, Desheh, and Olafsson;

       •    All arise out of alleged misstatements concerning Teva’s “pricing” and
            “competition”; and

       •    All involve a time period that is subsumed within the Class Period here.

       Indeed, the parties in each of the Direct Actions expressly agreed that the facts and

circumstances of their cases have “substantial overlap” with the Ontario Action, “including the

relevance of many of the same documents and witnesses.” 10

       Further, to ensure the efficient management of the Direct Actions, the Parties’ Proposed

Order, attached as Exhibit B, would implement a proven case management structure successfully


       10
           Alaska Revenue, ECF 10 ¶3; Pacific Funds, ECF 12 ¶3; Nordea, ECF 13 ¶3; Chicago
Teachers’, ECF 17 ¶3; Schwab, ECF 26 ¶3; Harel, ECF 14 ¶3; Migdal Ins. Co., ECF 28 ¶3;
Oregon, ECF 13 ¶3; Migdal Mutual Funds, ECF 27 ¶3; Psagot, ECF 15 ¶3; Stichting, ECF 12 ¶3;
Phoenix, ECF 59 ¶3; see also Highfields, ECF 26 ¶3 (“similar facts and circumstances and are
likely to involve many of the same documents and witnesses”); Mivtachim, 19-cv-674 (E.D. Pa.),
ECF 22 at 1 (“substantially similar”); Clal, 19-cv-530 (E.D. Pa.), ECF 25 at 1 (same).


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used in Petrobras, WorldCom, and other complex securities actions. (For reference, consolidation

orders successfully used in WorldCom, Petrobras and Bear Stearns are attached as Exhibits C, D

and E hereto.) Courts in these and other securities actions in this Circuit have regularly ordered

that (i) lead counsel for the class shall perform and direct all work, including discovery, and be the

sole representative of plaintiffs on all common issues; and (ii) a single representative of plaintiffs

in the opt-out actions may act as their liaison in communications with defense counsel and the

Court.     See, e.g., Exs. C-E (WorldCom, Petrobras, and Bear Stearns orders defining

responsibilities of lead counsel and designating liaison counsel).

         Thus, under the Proposed Order, Lead Counsel would conduct all pretrial and discovery

proceedings on behalf of all plaintiffs in the Direct Actions, including briefing and arguing all

motions and conducting all fact and expert discovery. The Proposed Order would also establish a

single Liaison Counsel to consult with Lead Counsel, and communicate with Lead Counsel and

the Court, on behalf of all plaintiffs in the Related Actions. Liaison Counsel would confer with

plaintiffs’ counsel in the Direct Actions to obtain their views regarding discovery and any issues

that need to be communicated to Lead Counsel and the Court, and in turn communicate with Lead

Counsel regarding discovery issues, litigation strategy, and motion practice.

         Among other benefits, such provisions will streamline motion practice with one set of

briefing and prevent wasteful, duplicative discovery requests and prolonged depositions with

questioning by multiple plaintiffs’ counsel. For example:

            •   Plaintiffs’ counsel in the Direct Actions may not file discovery motions
                without leave of Court, but through Liaison Counsel will have a reasonable
                opportunity to request revisions to discovery motions or other discovery
                briefing. Absent this provision, plaintiffs in the Direct Actions could file
                redundant and/or unnecessary motions.

            •   Plaintiffs’ counsel in the Direct Actions may not separately serve discovery
                without leave of Court, but through Liaison Counsel may request additions



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               to and deletions from any discovery request drafted by Lead Counsel. This
               ensures that Lead Counsel will propound all discovery on common issues.

           •   At depositions, should counsel in the Direct Actions request time to
               examine a witness through non-duplicative questions solely relevant to a
               Direct Action, Lead Counsel will devise and implement in good faith a
               process such that, through consultation with Liaison Counsel, counsel for
               plaintiffs in the Direct Action may ask such questions to the extent that Lead
               Counsel does not wish to do so. Absent this provision, depositions would
               be unnecessarily prolonged through disorganized, repetitive questioning by
               multiple plaintiffs’ counsel.

       This type of “sensible structure” promotes efficiency and ensures that resources are

properly allocated to litigating the merits. WorldCom, 2003 WL 21219037 at *3. It is well

established that “[i]n complex cases, courts may appoint a plaintiff leadership structure to

coordinate the prosecution of the litigation.” In re Facebook, Inc., IPO Sec. & Derivative Litig.,

288 F.R.D. 26, 43 (S.D.N.Y. 2012) (quoting In re Bank of Am. Corp. Secs., Derivative and ERISA

Litig., 258 F.R.D. 260, 272 (S.D.N.Y. 2009)); see also WorldCom, 2002 WL 21219037 at *3

(dealing with “the same issues repeatedly with the many different law firms representing plaintiffs”

in individual actions would be “inefficient and costly,” and “will divert resources from the merits

. . . and result in unnecessary delay”); Manual for Complex Litigation § 10.221 (4th ed. 2008)

(contemplating appointment of liaison counsel in complex litigation).

       Indeed, plaintiffs’ counsel in the Direct Actions have repeatedly participated in complex

securities actions where liaison counsel structures were effectively used. Indeed, in such cases,

several plaintiffs’ counsel have themselves served as either lead or liaison counsel, confirming that

there is no legitimate reason to oppose this established and efficient structure. See Ex. D at 6 (in




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Petrobras, Pomerantz 11 served as lead counsel; Kessler Topaz 12 was liaison counsel); In re BP plc

Sec. Litig., No. 4:10-md-2185, ECF No. 721 (Dec. 11, 2013) (Pomerantz 13 was liaison counsel).

       In sum, the Direct Actions should be consolidated, and the Parties’ Proposed Order

requiring the designation of Liaison Counsel reflects an efficient and routinely adopted approach

to managing complex, consolidated securities litigation. Granting this joint motion will ensure

that all Teva-related securities litigation proceeds expeditiously, with minimum waste and

duplication of effort by the parties and the Court.

                                         CONCLUSION

       For all of the foregoing reasons, Plaintiffs and Defendants jointly move the Court for the

entry of an Order, in the form included herewith as Exhibit A, consolidating the Grodko/Baker,

St. Petersburg, and Huellemeier putative class actions with the Ontario Action. Further, Plaintiffs

and Defendants jointly move the Court for the entry of an Order, in the form included herewith as

Exhibit B, consolidating the Direct Actions with the Ontario Action for pretrial purposes and

further providing for the efficient coordination of the Direct Actions with this Action.




       11
          Pomerantz represents the plaintiffs in Mivtachim The Workers Social Ins. Fund Ltd. v.
Teva Pharm. Indus. Ltd., 19-cv-513-SRU; Clal Ins. Co. Ltd. v. Teva Pharm. Indus. Ltd., 19-cv-
543-SRU; Migdal Insu. Co. v. Teva Pharm. Indus. Ltd., 19-cv-655-SRU; Migdal Mutual Funds,
Ltd. v. Teva Pharm. Indus. Ltd., 19-cv-923-SRU and Psagot Mutual Funds, Ltd. and Psagot
Provident Funds & Pension Ltd. v. Teva Pharma. Indus. Ltd., 19-cv-1167-SRU.
       12
          Kessler Topaz represents the plaintiffs in Nordea Investment Mgmt. AB v. Teva Pharma.
Indus. Ltd., 18-cv-1681-SRU and State of Alaska Dept. of Rev., Treasury Div. v. Teva Pharma.
Indus. Ltd., 18 cv-1721-SRU.
       13
            See supra at n.11.


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RETIREMENT SYSTEM                              SIGURDUR OLAFSSON; DEBORAH
                                               GRIFFIN; KÅRE SCHULTZ; MICHAEL
/s/ Joseph Fonti                               MCCLELLAN; YITZHAK PETERBURG;
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